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UNITED STATES D¥STR|CT COURT
DlSTRlCT OF CONNECT|CUT

 

MEGGAN MASSOP ClVlL ACTION

Plaintiff

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)
l
v. )
)
FOCUS RECE¥VABLES MANAGEMENT, LLC & )
JANE DOE alkla ELANDER )
Defendants )

)

JANUARY 22, 2010

 

COMPLA!NT
|. |NTRODUCT¥ON
1. This is a suit brought by a consumer Who has been harassed by the
defendant collection agency This action is for violations of the Fair Debt Coilection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 etseq.
|i. PART|ES
2. Piaintitf, l\/leggan lVlassop, is a natural person residing in B|oorntie|d,
Connecticut and is a consumer as defined by the Fair Debt Coiiection Practices Act
(“FDCPA”) 15 U.S.C. §1692a(3).
3. Defendant Focus Receivabies i\/ianagement, i_LC (“Focus”) is a Georgia
corporation and is licensed by the Connecticut Department of Banking as a Consumer

Col|ection Agency and is a debt collector as defined by FDCPA § 16923(6).

 

 

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4. Defendant Jane Doe afk/a Elander (“E|ander”) is an emptoyee cf Focus who
works as a debt coiiectcr. Elander’s identity and state of residence are not know by
Ptaintiff but are attainable through discovery

lil. JURlSDlCTlON

5. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28
U.S.C. §§ 1331, and 1337.

6. This Court has jurisdiction over Focus because it engages in debt coliection
Within Connecticut.

7. Venue in this Court is proper, because the Plaintitf is a resident and the acts
complained of occurred in this state.

lV. FACTUAL ALLEGAT!ONS

8. Plaintiff had accrued a debt (“the Debt”) with American Honda Finance
Corporation, and the Debt Was assigned to Focus for co!|ection.

9. Sometime in the beginning of June 2009, Focus began calling P|aintiff’s
workplace in attempt to collect on the Debt; Focus also made calls to Plaintiff’s home.

tO. On or around June 11, 2009, Eiander calted Plaintiff at her Workplace and
spoke With Piaintiff, and during that ca||, P|aintiff instructed Focus to cease calling her at
her workplace since such calls were very inconvenient for her and interfered with her
ability to perform herjob.

it. On or around June 18, 2009, E!ander called Piaintiff at her Workplace and
spoke with Ptaintiff, and during that conversation, Piaintiff demanded that Focus cease
ceiling her at her workplace, and Eiander replied that Focus Was going to garnish her

wages since it knew Where she Worked.

 

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12. On or around June 29, 2009, Elander called Plaintiff at her workplace and
spoke With Plaintitf, and she asked P|aintiff if she wanted to make payment terms, and
Piaintiff again demanded that Focus cease calling her at her workplace

V. COUNT ONE

Vio|ations of Fair Debt Coliection Practices Act, 15 U.S.C. §§ 1692 et seq.
(Against Focus Oniy)

13. Plaintlff incorporates Paragrapns 1-12.
14. Focus violated the FDCPA in one or more of the following respects:

a. Focus violated 15 U.S.C. § 1692e(5) by threatening to garnish '

Piaintiff’s income When it Was unauthorized to do so or was not intending

to do so.

b_ Focus violated 15 U.S.C. § 16920(a)(t) by continuing to call P|aintitf
at her Workpiace notwithstanding the fact Focus knew or should have know that it was
inconvenient for Piaintiff to take calls at her workplace 7

c. Focus vioiated 15 U.S.C. § 1692d by engaging in conduct as
described above, the natural consequence of which Was to harass, oppress, or abuse
the plaint`iff.

d. Focus violated 15 U.S.C. § 1692f by using unfair or unconscionable
means to attempt to collect the debt as described above.

15. For Focus’ vioiations of the Fair Debt Collection Practices Act as described
above, the P|aintiff is entitled to recover actual damagesl statutory damages of

$1,000.00, and reasonable attorney’s fees, pursuant to 15 U.S.C. § 1692k.

 

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Vl. COUNT TWO

Violations of Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.
(Against Elander Only)

16. Piaintiff incorporates Paragraphs 1-14.
17.Eiander violated the FDCPA for the reasons enumerated in Paragraph 14a-d

described abcve.

 

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WHEREFORE, the Piaintiff seeks recovery of monetary damages pursuant to 15 U.S.C.
§ 1692k; statutory damages pursuant to 15 U.S.C. § 1692k; attorney’s 1fees and costs

pursuant to 15 U.S.C. § 1692k; and such other relief as this Court deems appropriate

PLA|NT|FF, l\/IEGGAN MASSOP

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